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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                             SOUTHERN DIVISION
                                  (at London)

CASE NO. 17-CR-00053-GFVT                                   ELECTRONICALLY FILED

UNITED STATES OF AMERICA,                                            PLAINTIFF,



VS.                        MOTION TO CONTINUE TRIAL



WERNER GRENTZ,                                                       DEFENDANT.

                                          ** ** **

       Comes now the Defendant, by counsel, and moves the Court to continue the trial

of this case now scheduled to begin February 5, 2018. Defendant requests that the trial be

continued for an additional thirty (30) days. As grounds for this motion, counsel states

that the additional time is needed to educate the Defendant as to the issues that would be

presented at trial. Counsel and the Defendant have spent many hours discussing the

Defendant’s rather unusual theories of law. The Defendant has raised many interesting

questions which have required an unusual amount of research by counsel for the

Defendant.

       For purposes of the Speedy Trial Act, the Defendant submits that the delay caused

by the requested continuance is excludable under 18 U.S.C. §3161(h)(7)(A) because the

ends of justice served by granting the request outweigh the best interest of the public and

the Defendant in a speedy trial. The Defendant further submits that failure to grant the
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requested continuance would deny counsel for the Defendant the reasonable time

necessary for effective preparation, taking into account the exercise of due diligence as

contemplated by 18 U.S.C. §3161(h)(7)(B)(iv) .

       WHEREFORE, an Order in conformity herewith is respectfully requested.

                                                 Respectfully Submitted,

                                                 s/David S. Hoskins
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                                                 COUNSEL FOR DEFENDANT
                                                 WERNER GRENTZ

                               CERTIFICATE OF SERVICE

       The undersigned certifies that on this 19th day of January, 2018, the foregoing was

filed electronically with the Clerk of the Court by using CM/ECF System which will send

notice of filing to all counsel of record.

                                                 s/David S. Hoskins
                                                 COUNSEL FOR DEFENDANT
                                                 WERNER GRENTZ
